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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA                             :
                                                     :
       vs.                                           :       Case No. 1:22-cr-92
                                                     :
ALLISON FLUKE-EKREN,                                 :
                                                     :
       Defendant.                                    :


                  DEFENDANT’S UNOPPOSED MOTION TO WITHDRAW
                    MOTION FOR RELEASE PENDING SENTENCING

        Comes Now, Defendant, by counsel, and respectfully moves the Court to grant

Defendant leave to withdraw her previously-filed Motion for Release Pending Sentencing

(Document No. 38), filed August 12, 2022.

        Said Motion contained citations to grand jury testimony, protected by Rule 6(e), and

identified a government witness by their initials rather than as “CW-1.”

        Immediately upon this being brought to counsel’s attention, undersigned counsel

contacted the clerk’s office and requested the motion be sealed so as not to be publicly available.

Counsel now requests the Court permit the Defendant to withdraw the filing (Document No. 38),

so that a Corrected Motion for Release Pending Sentencing, omitting the offending citations, can

be filed in its stead. Attorney Raj Parekh for the United States does not object to this motion.

       A proposed Order is attached hereto.




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        WHEREFORE, the Defendant respectfully moves the Court for leave to withdraw her

previously-filed Motion for Release Pending Sentencing (Document No. 38), filed August 12,

2022.

                                                    Respectfully submitted,

                                                    _____/s/________________________
                                                    Sean A. Sherlock (VSB# 82633)
                                                    Joseph King (VSB# 65632)
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed via ECF and thereby forwarded to
all counsel of record on this 15th day of August 2022.



                                                    _____/s/________________________
                                                    Sean A. Sherlock (VSB# 82633)
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